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                      United States District Court
                       District of Massachusetts

CARLOS A. PALACIO, SIDNEY G.
GAVIRIA ORREGO, and CARLOS D.
PALACIO,
                    PLAINTIFFS

                 v.

CITY OF SPRINGFIELD,                                 CIVIL ACTION NO.: 3:13-CV-30149
WILLIAM FITCHET, and
JOHN DOES I, II, III and IV

                            DEFENDANTS




    ANSWER OF THE CITY OF SPRINGFIELD AND WILILAM FITCHET


       Now come the Defendants, City of Springfield and William Fitchet and hereby

answer the Plaintiff’s Complaint as follows:



                                   INTRODUCTION



   1. This is an introductory paragraph and therefore it does not need to be admitted nor

       denied.



   2. The Defendants, City of Springfield and William Fitchet, have insufficient

       information to either admit or deny the allegations contained in paragraph 2 of the

       Plaintiffs’ Complaint and therefore leaves the Plaintiff to prove same.
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3. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 3 of Plaintiffs’ Compliant.



                                   PARTIES



4. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 4 of the

   Plaintiffs’ Complaint.



5. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 5 of the

   Plaintiffs’ Complaint.



6. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 6 of the

   Plaintiffs’ Complaint.



7. The Defendants, City of Springfield and William Fitchet, admit that the City of

   Springfield is a municipal corporation of the Commonwealth of Massachusetts

   and the employer of William Fitchet. The Defendants have insufficient

   information to either admit or deny that the City of Springfield employs the

   unknown police officers. The Defendants admit that William Fitchet is
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   responsible for establishing and implementing polices, practices, procedures and

   customs used by law enforcement officers employed by the City of Springfield

   regarding the search and seizure of residences and their occupants within the City

   of Springfield.



8. The Defendants, City of Springfield and William Fitchet, admit that William

   Fitchet is presently the Commissioner in charge of the Springfield Police

   Department and he is responsible for making and/or implementing policies and

   practices used by law enforcement officers employed by the City of Springfield

   regarding the search and seizure of residences and their occupants within its

   jurisdiction. The Defendants have insufficient information to either admit or deny

   that William Fitchet is responsible for the supervision and training of the John

   Doe officers.



9. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 9 of

   Plaintiffs’ Compliant and therefore deny same.



10. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 10 of

   Plaintiffs’ Compliant and therefore deny same.


11. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph11 of Plaintiffs’ Compliant.
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12. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 12 of Plaintiffs’ Compliant.



13. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 13 of Plaintiffs’ Compliant.



14. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 14 of Plaintiffs’ Compliant.



                                     FACTS

15. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 15 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



16. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 16 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



17. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 17 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.
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18. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 18 of

   Plaintiffs’ Compliant and therefore deny same.



19. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 19 of

   Plaintiffs’ Compliant and therefore deny same.



20. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 20 of

   Plaintiffs’ Compliant and therefore deny same.



21. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 21 of

   Plaintiffs’ Compliant and therefore deny same.



22. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 22 of

   Plaintiffs’ Compliant and therefore deny same.



23. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 23 of

   Plaintiffs’ Compliant and therefore deny same.
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24. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 24 of

   Plaintiffs’ Compliant and therefore deny same.



25. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 25 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



26. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 26 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



27. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 27 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



28. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 28 of

   Plaintiffs’ Compliant and therefore deny same.



29. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 29 of

   Plaintiffs’ Compliant and therefore deny same.
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30. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 30 of

   Plaintiffs’ Compliant and therefore deny same.



31. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 31 of

   Plaintiffs’ Compliant and therefore deny same.



32. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 32 of

   Plaintiffs’ Compliant and therefore deny same.



33. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 33 of

   Plaintiffs’ Compliant and therefore deny same.



34. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 34 of

   Plaintiffs’ Compliant and therefore deny same.



35. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 35 of

   Plaintiffs’ Compliant and therefore deny same.
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36. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 36 of

   Plaintiffs’ Compliant and therefore deny same.



37. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 37 of

   Plaintiffs’ Compliant and therefore deny same.



38. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 38 of

   Plaintiffs’ Compliant and therefore deny same.



39. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 39 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.



40. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 40 of

   Plaintiffs’ Compliant and therefore deny same.



41. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 41 of

   Plaintiffs’ Compliant and therefore deny same.
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42. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 42 of

   Plaintiffs’ Compliant and therefore deny same.



43. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 43 of

   Plaintiffs’ Compliant and therefore deny same.




44. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 44 of

   Plaintiffs’ Compliant and therefore deny same.



45. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 45 of

   Plaintiffs’ Compliant and therefore deny same.



46. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 46 of

   Plaintiffs’ Compliant and therefore deny same.



47. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 47 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.
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48. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 48 of

   Plaintiffs’ Compliant and therefore deny same.



49. The Defendants, City of Springfield and William Fitchet, admit that on September

   29, 2010, a report was authored by members of the Springfield Police

   Department, including Officer Gregg Bigda, and state that the document speaks

   for itself.



50. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 50 of

   Plaintiffs’ Compliant and therefore deny same.



51. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 51 of

   Plaintiffs’ Compliant and therefore deny same.



52. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 52 of

   Plaintiffs’ Compliant and therefore deny same.


53. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 53 of

   Plaintiffs’ Compliant and therefore deny same.
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54. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 54 of Plaintiff’s Complaint.


55. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 55 of

   Plaintiffs’ Compliant and therefore leaves the Plaintiff to prove same.


56. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 56 of Plaintiff’s Complaint.



57. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 57 of Plaintiff’s Complaint.



58. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 58 of Plaintiff’s Complaint.



59. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 59 of Plaintiff’s Complaint.



                            COUNT I
              VIOLATION OF CONSTITUTIONAL RIGHTS
              (DEFENDANTS JOHN DOES I, II, III AND IV)
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60. The Defendants, City of Springfield and William Fitchet, repeat, re-allege and

   incorporate by reference their answers as set forth in Paragraphs 1 through 59

   above.



61. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 61 of

   Plaintiffs’ Compliant and therefore deny same.



62. The Defendants, City of Springfield and William Fitchet deny the allegations

   contained in paragraph 62 of Plaintiffs’ Compliant.



                        COUNT II
   VIOLATION OF MASSACHUSETTS CONSTITUTIONAL RIGHTS
          (DEFENDANTS, JOHN DOES I, II, III AND IV)



63. The Defendants, City of Springfield and William Fitchet, repeat, re-allege and

   incorporate by reference their answers as set forth in Paragraphs 1 through 62

   above.



64. The Defendants, City of Springfield and William Fitchet, have insufficient

   information to either admit or deny the allegations contained in paragraph 64 of

   Plaintiffs’ Compliant and therefore deny same.
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65. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 65 of Plaintiff’s Complaint.



                         COUNT III
          VIOLATION OF CONSTITUTIONAL RIGHTS
  (DEFENDANTS, CITY OF SPRINGFIELD AND WILLIAM FITCHET)


66. The Defendants, City of Springfield and William Fitchet, repeat, re-allege and

   incorporate by reference their answers as set forth in Paragraphs 1 through 65

   above.



67. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 67 of Plaintiff’s Complaint.



68. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 68 of Plaintiff’s Complaint.



69. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 69 of Plaintiff’s Complaint.




70. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 70 of Plaintiff’s Complaint.
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71. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 71 of Plaintiff’s Complaint.



72. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 72 of Plaintiff’s Complaint.



73. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 73 of Plaintiff’s Complaint.



74. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 74 of Plaintiff’s Complaint.



75. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 75 of Plaintiff’s Complaint.



76. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 76 of Plaintiff’s Complaint.



                           COUNT IV
               CONSPIRACY TO VIOLATE CIVIL RIGHTS



77. The Defendants, City of Springfield and William Fitchet, repeat, re-allege and

   incorporate by reference their answers as set forth in Paragraphs 1 through 76

   above.
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78. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 78 of Plaintiff’s Complaint.



79. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 79 of Plaintiff’s Complaint.



80. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 80 of Plaintiff’s Complaint.



                           COUNT V
          (VIOLATION OF STATUTORY RIGHT TO PRIVACY)



81. The Defendants, City of Springfield and William Fitchet, repeat, re-allege and

   incorporate by reference their answers as set forth in Paragraphs 1 through 80

   above.



82. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 82 of Plaintiff’s Complaint.



83. The Defendants, City of Springfield and William Fitchet, deny the allegations

   contained in paragraph 83 of Plaintiff’s Complaint.
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                              AFFIRMATIVE DEFENSES



                                    FIRST DEFENSE

The Court lacks jurisdiction over the subject matter of the Complaint.



                                  SECOND DEFENSE

The Plaintiffs failed to comply with statutory requirements contained in G.L. c. 258.



                                   THIRD DEFENSE

The Complaint fails to state a claim upon which relief requested can be granted.



                                  FOURTH DEFENSE

The Defendants reserve the right to recover costs and attorneys’ fees in the event that the

above action is found frivolous or in bad faith.



                                    FIFTH DEFENSE

The alleged actions of the Defendants were neither the proximate nor the actual cause of

any damages suffered by the Plaintiffs.



                                    SIXTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted against the

Defendants as no custom or official policy of the municipality caused a violation of the

Plaintiffs’ civil rights.
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                                   SEVENTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted against the

Defendants, as the conduct did not amount to a reckless disregard or deliberate

indifference to the civil rights of inhabitants within the City.



                                   EIGHTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted against the

Defendants, as liability cannot be imposed on the grounds of respondeat superior.



                                     NINTH DEFENSE

The Plaintiffs cannot recover against the municipality, as the alleged actions of the public

employees are exempt from the provisions of the Tort Claims Act under G.L. c. 258 § 10.



                                    TENTH DEFENSE

The Defendants answer that at all times they acted reasonably, within the scope of

official discretion and with a good faith belief that the actions were lawful and not in

violation of any clearly established statutory or constitutional right of which a reasonable

person would have known with regard to all matters in the Complaint which bear on state

or federal law questions.



                                 ELEVENTH DEFENSE

The Plaintiffs are barred from recovery because this action has not been brought within

the time specified by law.
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                                 TWELVTH DEFENSE

Based on information and belief, the Defendants’ actions were objectively reasonable in

light of the facts and circumstances and existing law without regard to underlying intent

or motivation.



                               THIRTEENTH DEFENSE

The actions alleged in the Complaint, if found to be in violation of any laws, were not

taken pursuant to any policy or custom promulgated by the final policy making authority

of the City of Springfield.



                              FOURTEENTH DEFENSE

The Defendants acted in good faith reliance on legislative or statutory authority.



                                FIFTEENTH DEFENSE

Force, if any, used by the Defendants was privileged, reasonable and necessary to effect

lawful purposes.



                                SIXTEENTH DEFENSE

The Defendants alleges that any injuries to the Plaintiffs mentioned in the Complaint

were caused in part by the Plaintiffs’ own negligence contributing thereto.
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                              SEVENTEENTH DEFENSE

The Defendants were justified in their conduct and acts, and therefore not liable to the

Plaintiff as alleged in the complaint.



                               EIGHTEENTH DEFENSE

The claims are barred due to qualified, absolute, and or legislative or other immunity or

privilege.



                                NINETEENTH DEFENSE

The Defendants’ actions were based on probable cause.



                                TWENTIETH DEFENSE

Any claim is based upon an act or omission for which liability does not attach under the

provisions of G.L. c. 258 §§ 10 (a) through (j).



                              TWENTY-FIRST DEFENSE

The Court lacks jurisdiction over the person or legal entity identified in the Complaint.



                             TWENTY-SECOND DEFENSE

All conduct by the Defendants’ was privileged, reasonable and necessary to effect a

lawful arrest or to defend themselves.
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                              TWENTY-THIRD DEFENSE

All conduct by the Defendants’ was privileged, reasonable and necessary to effect a

lawful arrest or to defend themselves.



                             TWENTY-FOURTH DEFENSE

On information and belief, the actions of the Defendant Officers were within the realm of

reasonable responses to the circumstances with which they were confronted.



                              TWENTY-FIFTH DEFENSE

The claims against the Defendant are barred as actions were reasonable and without

malice.



                              TWENTY-SIXTH DEFENSE

The Complaint fails to state a claim upon which relief can be granted under 42 U.S. C. §

1983 against Defendants as the conduct alleged in the Complaint does not involve any

particular right arising under the United States Constitution but merely seeks vindication

for the alleged violations of state law.



                         OTHER AFFIRMATIVE DEFENSES

The Defendants reserve the right to assert additional affirmative defenses.



          WHEREFORE, the Defendants, City of Springfield and William Fitchet, request

this Honorable Court to enter judgment in their favor and award them costs.
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                                                    Respectfully submitted,
                                                    The Defendants,
                                                    City of Springfield and
                                                    William Fitchet
                                                    By their attorneys

                                                    /s/ John T. Liebel
                                                    ________________________________
                                                    John T. Liebel, Esq. BBO#299660
                                                    Chief of Litigation
                                                    City of Springfield
                                                    Law Department
                                                    36 Court Street, Room 210
                                                    Springfield, MA 01103
                                                    Phone: 413-787-6085
                                                    Fax: 413-787-6173
                                                     jliebel@sprinfieldcityhall.com



                                                    /s/ Anthony I. Wilson

                                                    ________________________________
CERTIFICATE OF SERVICE                              Anthony I. Wilson, Esq. BBO # 682573
                                                    City of Springfield
The undersigned hereby certifies that a true copy
of the within Defendants’ Answer was this day       Law Department
served upon Plaintiff via the Federal Court’s ECF   36 Court Street, Room 210
Notice and delivery System to all parties.          Springfield, MA 01103
                                                    Phone: 413-787-6085
SIGNED under the pains and penalties of perjury.
                                                    Fax: 413-787-6173
                                                    awilson@springfieldcityhall.com
Dated: August 27, 2013

/s/ John T. Liebel
____________________________
   John T. Liebel, Esq.
